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                                                                                                             Letter




Jennifer Kelleher


The Associated Press


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808-536-5510                                                                       March 3, 2022




U.S. District Judge Leslie E. Kobayashi


U.S. District Court, District of Hawaii


300 Ala Moana Blvd. C-338


Honolulu, HI 96850




Your Honor,


I am a reporter with The Associated Press in Honolulu. I am requesting video access to the motion for
preliminary injunction hearing in Spriestersbach v. State of Hawaii (21-cv-00456-LEK) scheduled for March
11, 2022 at 9:45 a.m.


I agree to remain muted and off-camera during the entirety of the proceeding, unless instructed
otherwise by the court. I will not record any of the proceeding. If granted access, I will not share the login-
access information in any form with others.


I would like to also request video access to all future on -the-record- proceedings in this case that are
conducted by video conference.


I am grateful for options to safely cover court proceedings remotely during the coronavirus pandemic.


Thank you,
~vz____
Jennifer Kelleher




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